Case 8:15-cv-00192-AEP Document 133-4 Filed 05/24/17 Page 1 of 46 PageID 1860




                 EXHIBIT D
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 2
                                                           2 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1861
                                                                          861
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 3
                                                           3 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1862
                                                                          862
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 4
                                                           4 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1863
                                                                          863
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 5
                                                           5 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1864
                                                                          864
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 6
                                                           6 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1865
                                                                          865
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 7
                                                           7 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1866
                                                                          866
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 8
                                                           8 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1867
                                                                          867
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4
                                  55-1 Filed
                                       Filed 05/24/17
                                             02/24/16 Page
                                                      Page 9
                                                           9 of
                                                             of 46
                                                                46 PageID
                                                                   PageID 1868
                                                                          868
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 10
                                                           10 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 869
                                                                           1869
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 11
                                                           11 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 870
                                                                           1870
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 12
                                                           12 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 871
                                                                           1871
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 13
                                                           13 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 872
                                                                           1872
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 14
                                                           14 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 873
                                                                           1873
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 15
                                                           15 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 874
                                                                           1874
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 16
                                                           16 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 875
                                                                           1875
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 17
                                                           17 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 876
                                                                           1876
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 18
                                                           18 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 877
                                                                           1877
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 19
                                                           19 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 878
                                                                           1878
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 20
                                                           20 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 879
                                                                           1879
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 21
                                                           21 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 880
                                                                           1880
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 22
                                                           22 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 881
                                                                           1881
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 23
                                                           23 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 882
                                                                           1882
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 24
                                                           24 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 883
                                                                           1883
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 25
                                                           25 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 884
                                                                           1884
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 26
                                                           26 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 885
                                                                           1885
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 27
                                                           27 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 886
                                                                           1886
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 28
                                                           28 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 887
                                                                           1887
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 29
                                                           29 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 888
                                                                           1888
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 30
                                                           30 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 889
                                                                           1889
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 31
                                                           31 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 890
                                                                           1890
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 32
                                                           32 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 891
                                                                           1891
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 33
                                                           33 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 892
                                                                           1892
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 34
                                                           34 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 893
                                                                           1893
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 35
                                                           35 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 894
                                                                           1894
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 36
                                                           36 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 895
                                                                           1895
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 37
                                                           37 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 896
                                                                           1896
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 38
                                                           38 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 897
                                                                           1897
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 39
                                                           39 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 898
                                                                           1898
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 40
                                                           40 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 899
                                                                           1899
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 41
                                                           41 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 900
                                                                           1900
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 42
                                                           42 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 901
                                                                           1901
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 43
                                                           43 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 902
                                                                           1902
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 44
                                                           44 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 903
                                                                           1903
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 45
                                                           45 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 904
                                                                           1904
Case
 Case8:15-cv-00192-AEP
      8:15-cv-00192-AEP Document
                         Document133-4 Filed 02/24/16
                                  55-1 Filed 05/24/17 Page
                                                      Page 46
                                                           46 of
                                                              of 46
                                                                 46 PageID
                                                                    PageID 905
                                                                           1905
